
CARTER, J.
This is a companion case to Mann v. Board of Medical Examiners, ante, p. 30 [187 P.2d 1], this day decided, and also to Aarons v. Board of Medical Examiners, ante, p. 863 [187 P.2d 8]. All three cases were tried together and resulted in judgments in favor of the respective petitioners. The appeals were presented on a single record and the disposition of this appeal is controlled by the disposition of the Mann appeal. For reasons stated in the opinion in the Mann case, the judgment is reversed and the trial court is directed to entertain further proceedings in accordance with the views expressed in said opinion.
Gibson, C. J., Shenk, J., Edmonds, J., Traynor, J., Sehauer, J., and Spence, J. concurred.
